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     POST CONFIRMATION
     QUARTERLY OPERATING REPORT



CASE NAME: Williams Financial Group, Inc., et al.

CASE NUMBER: 17-33578-HDH-11

PERIOD COVERED: Quarter Ending December 31, 2018

                                                         Williams Financial Group, Inc.   WFG Management Services   WFG Investments, Inc.   WFG Advisors, LP
                                                                   17-33578                     17-33579                 17-33580              17-33581           TOTAL

1.   BEGINNING OF PERIOD CASH BALANCE:                                                                                                                               4,192,807.34

     CASH RECEIPTS:
     CASH RECEIPTS DURING CURRENT QUARTER:
     (a). Cash receipts - from Debtor                                                                                                                                            -
     (b). Cash receipts - Pre-Confirmation Adjustment                                                                                                                            -
     (c). Cash receipts - from sale of assets                                                                                  405,000.00                                 405,000.00
     (d). Cash receipts - from Commissions                                                                                      31,044.23              1,198.17            32,242.40
     (e). Cash receipts - from refunds                                         10.74                    4,556.83                                                            4,567.57
2.        TOTAL CASH RECEIPTS                                                  10.74                    4,556.83               436,044.23              1,198.17           441,809.97

     CASH DISBURSEMENTS:
     (A). PAYMENTS MADE UNDER THE PLAN:
          (1). Administrative                                                 164.08                  (13,577.82)              613,059.90             54,371.07           654,017.23
          (2). Secured Creditors                                                                                                                                                 -
          (3). Priority Creditors                                                                                                                                                -
          (4). Unsecured Creditors                                                                                                                                               -
          (5). Additional Plan Payments                                                                                                                                          -
     (B). OTHER PAYMENTS MADE THIS QUARTER:                                                                                                                                      -
          (1). General Business                                                                                                172,191.09             42,711.36           214,902.45
          (2). Other Disbursements (U.S. Trustee Fees)                        325.00                      325.00                   975.00                650.00             2,275.00
3.        TOTAL DISBURSEMENTS THIS QUARTER                                    489.08                  (13,252.82)              786,225.99             97,732.43           871,194.68


4.   CASH BALANCE END OF QUARTER                                                                                                                                     3,763,422.63
     Line 1 - Plus Line 2 - Minus Line 3 = Line 4
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           POST CONFIRMATION
           QUARTERLY BANK RECONCILEMENT

CASE NAME: Williams Financial Group, Inc., et al.

CASE NUMBER: 17-33578-HDH-11

       The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll and tax accounts,
       as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental obligations, etc.
       Accounts with restricted funds should be identified by placing an asterisk next to the account number. Attach additional sheets for each bank
       reconcilement if necessary.

PERIOD COVERED: Quarter Ending December 31, 2018

Bank Reconciliations                                                Account # 1           Account # 2        Other Accounts
A.         Bank                                                   Bank of America        Plains Capital        (Attach List)
B.         Account Number                                              5692                  6239                                     TOTAL
                                                                                           Debtor In
C.         Purpose (Type)                                             Operating           Possession
1.         Balance Per Bank Statement                                  3,789,814.54              4,947.03              2,124.06       3,796,885.63
2.         Add: Total Deposits Not Credited
3.         Subtract: Outstanding Checks                                  (33,463.00)                                                     (33,463.00)
4.         Other Reconciling Items
5.         Month End Balance Per Books                                 3,756,351.54              4,947.03              2,124.06       3,763,422.63

6.         Number of Last Check Written                                 3079

7.         Cash: Currency on Hand

8.         Total Cash - End of Month                                                                                                 3,763,422.63

           CASH IN:
           INVESTMENT ACCOUNTS
                                                                Date of                Type of
           Bank, Account Name & Number                          Purchase               Instrument                                  Value

      9.
     10.
     11.
     12.
     13.   Total Cash Investments


 14. TOTAL CASH                                                 LINE 8 - PLUS LINE 13 = LINE 14 ****                                 3,763,422.63
                                                                                                                                        ****
           ****Must tie to Line 4, Quarterly Operating Report
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            POST CONFIRMATION                                                                                         SUPPLEMENT 1

            QUARTERLY BANK RECONCILEMENT

CASE NAME: Williams Financial Group, Inc., et al.

CASE NUMBER: 17-33578-HDH-11
       The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll and tax accounts,
       as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental obligations, etc. Accounts with restricted
       funds should be identified by placing an asterisk next to the account number. Attach additional sheets for each bank
       reconcilement if necessary.

PERIOD COVERED: Quarter Ending December 31, 2018
Bank Reconciliations                                                         Account # 3           Account # 4           Account # 5
A.          Bank                                                             Plains Capital        Plains Capital        Plains Capital
B.          Account Number                                                       6197                  6148                  7900               TOTAL
                                                                               Debtor In             Debtor In             Debtor In
C.          Purpose (Type)                                                    Possession            Possession            Possession
1.          Balance Per Bank Statement                                               2,124.06                    -                                    2,124.06
2.          Add: Total Deposits Not Credited
3.          Subtract: Outstanding Checks
4.          Other Reconciling Items
5.          Month End Balance Per Books                                              2,124.06                    -                    -               2,124.06

6.          Number of Last Check Written

7.          Cash: Currency on Hand

8.          Total Cash - End of Month                                                                                                                 2,124.06

            CASH IN:
            INVESTMENT ACCOUNTS
                                                                          Date of               Type of
            Bank, Account Name & Number                                   Purchase              Instrument                                    Value

      9.
     10.
     11.
     12.
     13.    Total Cash Investments


 14. TOTAL CASH                                                           LINE 8 - PLUS LINE 13 = LINE 14 ****                                             -
                                                                                                                                                  ****
            ****Must tie to Line 4, Quarterly Operating Report
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  POST CONFIRMATION
  QUARTERLY OPERATING REPORT (FOOTNOTES)


CASE NAME: Williams Financial Group, Inc., et al.


CASE NUMBER: 17-33578-HDH-11

Quarter Ending:           December 31, 2018

                                       FOOTNOTES


  On June 19, 2018, the Court entered its Order Confirming Plan of Liquidation
  (the "Confirmation Order") for Williams Financial Group, Inc. (Case #17-33578), WFG
  Management Services, Inc. (Case #17-33579), WFG Investments, Inc. (Case #17-33580),
  and WFG Advisors LP (Case #17-33581). The Confirmation Order created the
  WFG Liquidating Trust (the "Trust") to wrap up the remaining affairs of the four Debtors,
  confirmed that the Estates of the Debtors are jointly administered and provided
  that the effective date of the Plan of Liquidation would be June 29, 2018.

  During this reporting period, the following Chapter 11 administrative expense payments
  were made:

      Professional Fees (Final Fee Applications):
          Akerman, LLP                                $        386,081.00
          Baker & McKenzie, LLP                                 90,563.33
          Sessions, Fishman et al                               56,848.54
          Bridgepoint Consulting                                45,214.12
          Richard Amsberry, PC                                  16,067.41
      Taxes:
          IRS - 2017 Form 1120                                  33,393.00
          Texas Comptroller - 2018 franchise tax                25,849.83
                                                      $        654,017.23
